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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                FRANKFORT DIVISION

 In Re:                                           Case No. 19-30282-tnw

 Derek Sean Meacham
                                                  Chapter 13
 Stephanie Anne Meacham

 Debtors.                                         Judge Tracey N. Wise

                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was served by
the method set forth below, upon the below listed parties on December 23, 2021.

By Notice of Electronic Filing to:

          John C. Robinson, Debtors’ Counsel
          john@robinsonsalyers.com

          Beverly M. Burden, Chapter 13 Trustee
          notices@ch13edky.com

          Office of the U.S. Trustee
          ustpregion08.lx.ecf@usdoj.gov

By United States mail to:

          Derek Sean Meacham, Debtor
          217 Rolling Ridge Way
          Simpsonville, KY 40067
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    Stephanie Anne Meacham, Debtor
    217 Rolling Ridge Way
    Simpsonville, KY 40067

                                       Respectfully Submitted,

                                       /s/ Molly Slutsky Simons
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                                       Loveland, OH 45140
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